Case 1:16-cv-02442-THANTtaChaMNeNntiG 12/15/16 Page 1 of 1

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Canaan. e Ze Olas Dan.

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Original
[The Banner of the Islamic State:] The Islamic State
There is no God, but Allah Ministry of Natural Resources
Muhammnad is the messenger of God Department of Antiquities No: 007

1/18/1436 (Hijri/Islamic Calendar)
11/11/2014 (Gregorian/Christian Calendar)

To the brothers at the checkpoints of the Islamic State
We would like to let you know that brother Abu-‘Abd-al-Rhman al-Tunisi is authorized to do the
following:
- To dig for relics in the territories of the Islamic State, to authorize suitable people and to
supervise them.
- To arrest anyone who digs for relics without the authorization of Ministry of Natural
Resources- Department of Antiquities.

The red stamp:

The Islamic State

The Caliphate State

Ministry of the Natural Resources — Antiquities
The President

The signature and name of Abu-Sayyaf al-‘Iraqi

English Translation
